Case 2:21-cv-06007-JAK-MAR    Document 118-1   Filed 02/07/23   Page 1 of 2 Page
                                  ID #:1820


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   8                     UNITED STATES DISTRICT COURT

   9                    CENTRAL DISTRICT OF CALIFORNIA
  10
       BELLA SUMMIT, LLC,                      No. 2:21-cv-06007 JAK (MARx)
  11
  12        Plaintiff and Counterclaim-        ORDER RE STIPULATED
            Defendant,                         DISMISSAL (DKT. 116)
  13
  14        v.                                 JS-6

  15 GAMEBREAKER, INC,
  16
            Defendant and Counterclaim-
  17        Plaintiff.
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Case 2:21-cv-06007-JAK-MAR      Document 118-1       Filed 02/07/23   Page 2 of 2 Page
                                    ID #:1821


  1         Based on a review of the parties’ Stipulated Dismissal (the “Stipulation”
  2   (Dkt. 116)), sufficient good cause has been shown for the requested relief.
  3   Therefore, the Stipulation is APPROVED. This entire action is dismissed with
  4   prejudice; provided, however, the Court shall retain jurisdiction to enforce the terms
  5   of the stipulated Settlement Agreement. Each party shall bear its own attorney’s
  6   fees and costs.
  7
  8         IT IS SO ORDERED.
  9
 10   DATED: ____________________
               February 6, 2023                      __________________________
                                                     John A. Kronstadt
 11                                                  United States District Judge
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